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AO 106 (Rev. 04/10) Application for a Search Warrant



                                       UNITED STATES DISTRICT COURT
                                                                      for the                                           FILED
                                                           Eastern District of California                               Jun 14, 2023
                                                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                                                 EASTERN DISTRICT OF CALIFORNIA

              In the Matter of the Search of                     )
                                                                 )
                                                                 )               Case No.
    a green Apple iPhone, which is currently                                                   2:23-sw-0591 CKD
                                                                 )
           located at ATF Sacramento                             )
                                                                 )
                                     APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

SEE ATTACHMENT A, attached hereto and incorporated by reference.
located in the              Eastern               District of            California            , there is now concealed (identify the
person or describe the property to be seized):

SEE ATTACHMENT B, attached hereto and incorporated by reference
          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               evidence of a crime;
               contraband, fruits of crime, or other items illegally possessed;
                 property designed for use, intended for use, or used in committing a crime;
                 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
         Code Section                                                              Offense Description
   21 U.S.C. §§ 841(a), 846;                            Conspiracy to distribute and possess with intent to distribute controlled
     18 U.S.C. § 922(g)(1)                         substances; distribution of a controlled substance; felon in possession of a firearm
          The application is based on these facts:
SEE AFFIDAVIT, attached hereto and incorporated by reference.
            Continued on the attached sheet.
            Delayed notice          days (give exact ending date if more than 30 days:                                   ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                       /s/
                                                                                               Applicant’s signature

                                                                                       Daniel Lynch, ATF Special Agent
                                                                                               Printed name and title
Sworn to me and signed telephonically.

Date:      June 14, 2023 at 12:18 pm
                                                                                                 Judge’s signature

City and state: Sacramento, California                                          Carolyn K. Delaney, U.S. Magistrate Judge
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   Affidavit In Support of an Application for a Warrant to Search Device

      I, Daniel Lynch, being first duly sworn, depose and state as follows:

            I.     INTRODUCTION AND AGENT BACKGROUND

      1.     I am a Special Agent with the United States Department of Justice,

Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”). I am a “federal law

enforcement officer” within the meaning of Federal Rule of Criminal Procedure

41(a)(2)(C), that is, a federal law enforcement agent engaged in enforcing criminal

laws and authorized to request a search warrant. I have been so employed since

December 2021. I graduated from the Federal Law Enforcement Training Center

(“FLETC”) with a certification in Criminal Investigation Training Program (“CITP”)

and ATF Special Agent Basic Training (SABT). During my FLETC training, I was

instructed in Investigative Operations, Enforcement Operations, Cyber

Investigations, and Counterterrorism among other training modules. The CITP

academy was approximately three months in duration, and the SABT academy was

also approximately three months in duration. I investigate violations of federal

criminal statutes, including violations of federal firearms and narcotics laws. Prior

to becoming an ATF Special Agent, I served four years in the United States Army as

an Infantryman. I completed a fifteen-month deployment to Iraq in support of

Operation Iraqi Freedom. My primary duties included the detection and

apprehension of terrorists. I graduated cum laude with a Bachelor of Science in

Criminal Justice from the California State University, Sacramento in June 2020.

      2.     During my tenure as an ATF Special Agent, I have investigated

violations of both federal and state laws pertaining to narcotics trafficking and

firearms violations. During those investigations I have become familiar with the

means in which illegal users of narcotic and persons prohibited from possessing

firearms receive and or obtain firearms. I have also become familiar with the

means in which narcotics traffickers obtain and distribute narcotics, both through



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my own on-the-job experience and through speaking with other officers who have

experience investigating these types of cases.

      3.     I am an “investigative or law enforcement officer” of the United States

within the meaning of 18 U.S.C. § 2510(7), in that I am an officer of the United

States empowered by law to conduct criminal investigations and make arrests for

offenses enumerated in 18 U.S.C. § 2516.

      4.     I am currently assigned to the ATF Sacramento Field Office as a

member of a regional task force. While conducting task force related operations, I

have observed illegal firearm transfers and drug distribution. Through my training

and experience, I am familiar with the modus operandi of individuals illegally

trafficking firearms and drugs.

      5.     The facts in this affidavit come from my personal observations, my

training and experience, review of evidence in this case, and information obtained

from other agents and witnesses. This affidavit is intended to show merely that

there is sufficient probable cause for the requested warrant and does not set forth

all my knowledge about this matter.

      6.     Through my training and experience, I know that mobile telephones

store text messages sent, received, and drafted by the user. The text message

history in a narcotics and or firearms trafficker’s mobile telephone can contain

evidence of narcotics and or firearms trafficking because it shows the

communications or plans of a narcotics and or firearms trafficker and his or her

associates and contacts. Mobile telephones also receive and store voicemails and

call records, which shows who is calling the user, and may explain why they are

calling. Mobile telephones have other user-entered data files, such as “notes” and

“to-do lists,” which can provide evidence of a crime when a narcotics and or firearms

trafficker stores data related to the crime using those files. Mobile telephone

companies also store the data described in this paragraph on their servers and



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associate the data with particular users’ mobile telephones.

      7.      This affidavit is intended to show only that there is sufficient probable

cause for the requested warrant and does not set forth all my knowledge about this

matter.
                          II.   ITEM TO BE SEARCHED

      8.      The property to be searched is a green Apple iPhone, ATF Case

Number 786035-21-0044, Item Number 000033, hereinafter the “Subject Device.”

The Subject Device is currently in ATF custody at 1325 J Street, Suite 1520 in

Sacramento, California.

      9.      The applied-for warrant would authorize the forensic examination of

the Subject Device for the purpose of identifying electronically stored data

particularly described in Attachment B.

                   III.     SUMMARY OF PROBABLE CAUSE

      10.     Beginning in 2021 and continuing to present, ATF has been

investigating Shaun JONES for being a felon in possession of a firearm, distribution

of a controlled substance, and a conspiracy to distribute and possess with intent to

distribute controlled substances. During the investigation, JONES used phone

number (510) 680-0247 to communicate with a confidential informant and arrange

firearms and narcotics transactions. On March 31, 2023, law enforcement arrested

JONES pursuant to a federal arrest warrant and found JONES in possession of one

mobile telephone at the time of his arrest, which I now seek authorization to search.

             IV.      FACTS IN SUPPORT OF PROBABLE CAUSE

      11.     On August 23, 2022, an ATF Confidential Informant (“CI-1”)

purchased a Glock 17, 9mm firearm, with serial number BHCD060, from Shaun

JONES and Kenyatta ALEXANDER for $1,300 in cash. CI-1 was driving an

undercover vehicle (“UCV”) during the operation. CI-1 was outfitted with a

concealed audio transmitter and a covert video recorder. Law enforcement provided



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CI-1 with prerecorded funds for the purchase. Prior to leaving the staging location,

law enforcement searched CI-1 and the UCV for unauthorized contraband and

found none.

      12.     CI-1 and JONES had previously communicated about meeting in

Sacramento for the firearms transaction. JONES directed CI-1 to meet in the area

of Chevron located at Stockton Boulevard and Fruitridge Road.

      13.     CI-1 arrived at the meet location. JONES exited the passenger side of

a black Jeep with California license plate 8ZXZ644. JONES then entered the front

passenger area of the UCV. JONES advised that the firearm was in a different car,
and then JONES advised CI-1 to come get into the other car so that JONES did not

have to be, “doing all that.”

      14.     CI-1 exited the UCV and entered the rear passenger area of a white

sedan while JONES entered the front passenger area. Once inside the sedan, the

driver (later identified as ALEXANDER) provided CI-1 with the Glock firearm. CI-

1 provided ALEXANDER with $1,300 in cash. CI-1 advised that CI-1 knew where

to customize firearms. ALEXANDER stated that he had recently had multiple

firearms, but that he currently did not have any additional firearms. ALEXANDER

then told CI-1 to take his telephone number, but CI-1 asked JONES if that would

be, “stepping on toes.” JONES stated, “No, you good brody, you straight.”

ALEXANDER then provided CI-1 with a telephone number of (916) 465-3928.

JONES then stated, “Everytime I bring a nigga into some busy, I’m bringing you

into it so you can, you know.”

      15.     ALEXANDER was later charged with conspiracy to unlawfully deal

firearms, unlawful dealing in firearms, and felon in possession of a firearm, based

in part on the above-described conduct. See Superseding Indictment, 2:22-CR-

00058-DAD; ECF 96.

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JONES arranges a fentanyl deal for the ATF Confidential Informant.

       16.    On August 23, 2022, CI-1 contacted Shaun JONES over Facetime to

ask if JONES could obtain counterfeit pharmaceutical pills that commonly contain

fentanyl. The Facetime audio was recorded and preserved as evidence. JONES

stated that he would contact an individual that sold those type of pills. Shortly

after speaking to JONES, CI-1 received a request on Instagram from username

“sticklyfethr33z.”

       17.    CI-1 communicated with the individual via Instagram messaging. CI-1

provided TFO Oliver with a screenshot from the Instagram profile. TFO Oliver was
able to identify Marcus MILLER, DOB xx/xx/1989, Sacramento County XREF

3684957, as the individual pictured in the screenshot.

       18.    On September 2, 2022, under ATF’s direction, CI-1 purchased 110

grams of suspected fentanyl pills from Marcus MILLER for $2,000 in cash. The

controlled purchase occurred in the parking lot located at 8241 Bruceville Road,

Sacramento.

ATF Confidential Informant purchases second firearm from JONES.

       19.    On September 11, 2022, CI-1 communicated with JONES by sending

text messages to 510-680-0247. CI-1 asked if JONES had a firearm for sale.

JONES replied, “Ima look around rn.” Based on my training and experience, I

believe that JONES was confirming he would look around “right now” for a firearm

to sell to CI-1.

       20.    On September 23, 2022, JONES asked CI-1, “U still need the strap?”

CI-1 said “was the ticket tho,” asking how much JONES would charge. JONES

responded, “G 42 around brand new,” and “850.” Based on my training and

experience, I believe that JONES was conveying that he had a Glock 42 available

for $850. CI-1 responded, “Bet shit ill throw a exta bill hold it for me i still 5etting

these blues off rn,” meaning CI-1 would purchase the firearm, but needed JONES to



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hold it for CI-1. JONES then responded “I juss got word it’s way in az lemme see

what’s closer,” and, “I mean he can send it I’m tryna put it together.” Based on my

training and experience, I believe JONES was conveying that someone had just told

him the firearm was in Arizona, however, JONES could arrange to have the firearm

brought or shipped to California.

      21.    On September 28, 2022, JONES told CI-1 that he had a Glock 19 with

a high-capacity magazine available. CI-1 said CI-1 was interested and asked for a

picture of it. JONES sent the below picture:




      22.    On September 30, 2022, at approximately 1:38 p.m., JONES called CI-

1 to confirm that the firearm purchase would be completed that day. CI-1

confirmed the meeting would take place that day.




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      23.    On September 30, 2022, at approximately 2:48 p.m., JONES called CI-

1 to say that he had a 9mm Gen 5 Glock available for sale. Including a large

capacity magazine, the firearm would cost $1,200. CI-1 then told JONES to meet at

the boxing gym located off Broadway in Sacramento to complete the deal. JONES

sent the following picture to CI-1:




      24.    Law enforcement directed CI-1 to buy the above firearm from JONES

through a controlled purchase. CI-1 was driving a UCV during the operation. CI-1

was outfitted with a concealed audio transmitter and a covert video recorder. Law

enforcement provided CI-1 with prerecorded funds for the purchase. Prior to

leaving the staging location, law enforcement searched CI-1 and the UCV for

unauthorized contraband and found none.

      25.    At approximately 5:04 p.m., CI-1 parked at Flawless Boxing and

Fitness located at 600 Broadway, Sacramento, CA 95818. At approximately

5:38 p.m., JONES entered the UCV. The covert recording devices captured a photo

of JONES. Law enforcement compared this photo to JONES’ most recent booking

photo to confirm his identity.



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      26.    JONES began explaining to CI-1 how to open up a cannabis store in

the Sacramento area. CI-1 mentioned a cannabis store named “Lemonade,” located

at 1115 Fee Drive in Sacramento, California. JONES said, “we hit that.” Based on

my training and experience, I believe JONES was referring his participation in

robbing the “Lemonade” cannabis store. JONES said that the store “didn’t have no

weed in it” and that “there were safes in there.” JONES then asked, “you talking

about Lemonade by Arden?” and added, “my other partner hit it before me, then we

went back and hit it and hit the building next to it…breaking into that mother

fucker.” Based on my training and experience, I believe JONES was referring to
multiple burglaries.

      27.    At approximately 5:44 p.m., JONES told CI-1, “theres hella Glocks

around too right now” and “I don’t fuck with the ghosts.” “Ghosts” is a slang term

for privately manufactured firearms. JONES said that privately manufactured

firearms are not as reliable as commercially manufactured firearms. Jones added,

“I would never get into a shoot out with one of them.”

      28.    CI-1 mentioned a recent shooting in the Sacramento area. JONES

responded that he had heard of the shooting and that it was related to another




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shooting that took place the same night. JONES told CI-1 that the victim of the

shooting was one of the main drug distributers in Sacramento. JONES said that

the victim sold pounds of crystal methamphetamine and fentanyl.

      29.    At approximately 5:48 p.m., JONES stepped out of the UCV and

contacted individuals that had arrived in the parking lot driving a white Honda

sedan. JONES then returned to the UCV, removed a Glock pistol from his front

waistband, and set the pistol on the center console. CI-1 checked out the pistol and

paid JONES $1,200.

      30.    Following the controlled purchase, CI-1 then drove away from the meet
location, followed by surveilling law enforcement officers. CI-1 met with law

enforcement to debrief the operation and provided the firearm that CI-1 purchased

from JONES.

      31.    The firearm is a Glock 17, 9x19mm pistol, bearing serial number

BRDU980, depicted below. The firearm was equipped with a 30-round magazine.

An ATF interstate nexus expert reviewed pictures of the firearm and preliminarily

determined the firearm traveled across state lines.




ATF Confidential Informant purchases narcotics from JONES.

      32.    On November 14, 2022, JONES called CI-1 from phone number 510-




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680-0247, which is the same number JONES previously used to coordinate selling a

firearm to CI-1. CI-1 did not answer JONES’ call. At approximately 4:44 p.m., CI-1

texted JONES, “Bruh said he grabb like 150 to 200 of em,” meaning that the CI

would like to buy pills from JONES. CI-1 told JONES that the deal would have to

occur the following day because he/she was out of town. Shortly thereafter, JONES

texted CI-1 stating “They might be gon but then,” meaning that JONES may have

sold the pills by then.

      33.    On November 15, 2022, at approximately 11:05 a.m., CI-1 texted

JONES, “Aye bro just hit and asked if those still gud,” asking if the pills were still
available. At approximately 7:10 p.m., JONES texted CI-1, “Still got pulls fa sale

top,” meaning that JONES still had pills he was willing to sell. CI-1 texted JONES,

“Bet bet shit ill pull up tmmrw wit my bitch rn eatin how msny.” JONES replied,

“Norco 5’s 7.5’s an perc 5’s an 7.5s,” meaning that he had Norco and Percocet pills

available for sale in various strengths.

      34.    On November 16, 2022, law enforcement directed CI-1 to conduct the

controlled purchase. CI-1 was driving an UCV during the operation. Another

confidential informant, CI-2, accompanied CI-1 as a passenger in the UCV in order

to deter a possibility of a robbery. CI-1 was outfitted with a concealed audio

transmitter, which enabled investigators to listen to CI-1’s conversations, and a

covert video recorder. Law enforcement gave CI-1 prerecorded U.S. currency with

which CI-1 was to purchase the suspected pharmaceutical pills from JONES. Prior

to leaving the staging location, law enforcement searched CI-1, CI-2, and the UCV

for unauthorized contraband and found none.




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      35.    At approximately 6:31 p.m., CI-1 and CI-2 parked next to a Starbucks

coffee shop located at 4241 Elverta Road in Antelope, California. A few minutes

later, a marked police vehicle unrelated to this investigation arrived at the meet

location and parked near the UCV. CI-1 and JONES agreed to move to a different

part of the parking lot. Thereafter, JONES (depicted below) entered the UCV

carrying a plastic bag.




      36.    JONES began removing bottles containing pills from the plastic bag

and asked the CIs if they had a piece of paper that the pills could be placed on for

counting. JONES and both CIs began inspecting and counting the pills.




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       37.      CI-1 and JONES discussed which pills CI-1 would buy and began

negotiating prices. CI-1 and JONES agreed on $3,100 for the pills the CIs stated

that they wanted. CI-1 counted $3,100 of pre-recorded funds and exchanged it for

the pills, which JONES provided in pill bottles.

       38.      The CIs drove away from the meet location, followed by surveilling law

enforcement officers. The CIs later met with law enforcement to debrief the

operation. CI-1 and CI-2 gave me the pills they had purchased from JONES. The

pills weighed approximately 235 grams.

       39.      I examined all the pharmaceutical pills that CI-1 had purchased from
JONES and compared the pills to known pictures of authentic pharmaceutical pills

listed on the containers that the pills had been provided in. I concluded that the

purchased pills were identical to the pictures of confirmed authentic pharmaceutical

pills. I identified the pills as follows:

             a. OxyContin 20mg, a schedule II controlled substance;

             b. Hydrocodone Bitartrate and Acetaminophen 7.5mg/325mg, a schedule

                II controlled substance;

             c. Oxycodone and Acetaminophen 7.5mg/325mg, a schedule II controlled

                substance.

JONES is believed to be involved in a burglary ring to obtain controlled
substances.
       40.      Since November 2021, ATF has been assisting Sacramento Police

Department (“SPD”) detectives with an investigation into multiple robberies and

burglaries committed at marijuana dispensaries in the Sacramento area.

Detectives initially identified JONES as an individual involved in the

robberies/burglaries. Additionally, detectives determined that JONES was listed as

a suspect in past violent crime incidents, to include armed robbery, at least fifteen

burglaries, battery, distribution of narcotics, and was believed to have been involved



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in additional crimes within the Eastern District of California.

        41.     On December 15, 2022, law enforcement learned that JONES was on

active GPS tracking as a condition of his pre-trial probation in Sacramento County.

TFO Oliver obtained a search warrant for JONES’ geolocation data. 2:23-sw-0062-

KJN.

        42.     On March 31, 2023, law enforcement obtained an arrest warrant and

criminal complaint charging JONES with being a felon in possession of a firearm

and with distribution of a controlled substance. 2:23-MJ-151-AC. 1 Later that day,
law enforcement and personnel from the Sacramento County Probation Department

served the federal arrest warrant for Shaun JONES at 2802 Chelan Ct, Antelope,

CA 95843. This was the residence listed with Sacramento County pre-trial

probation for JONES as of March 31, 2023.

        43.     JONES’s Sacramento County pre-trial probation GPS ankle monitor

showed that JONES was present at the residence at the time of warrant execution.

At approximately 16:32 hours, members of the SSO SED team initiated the service

of the federal arrest warrant at 2802 Chelan Court. SSO SED made multiple

announcements of their presence and demanded any occupants of 2802 Chelan

Court to exit the residence. During SSO SED’s announcements, surveilling law

enforcement officers saw movement through the windows of the east side of the

home.

        44.     SSO SED then made a dynamic entry into the front door of the

residence. At this time, a male later identified as JONES escaped through a small

window on the south side of the residence and began to flee. SSO SED members

along with SPD officers began to pursue JONES on foot. JONES was apprehended

in the backyard of a nearby residence. JONES was handcuffed behind the back and


       A grand jury subsequently returned an indictment charging JONES with
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the same charges; see 2:23-CR-114-KJM.


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placed into a marked SPD vehicle.

       45.    Haley Goodchild and Blaze Goodchild, along with two small children,

were located in the residence at the time of the warrant service. All occupants of the

residence were brought out to the street until the residence was secured. SSO SED

conducted a tactical clearance of 2802 Chelan Court for the purpose of officer safety.

       46.    After SSO SED cleared the residence, ATF assisted SCPD with a pre-trial
probation search of the residence. Per SCPD Officer Brenda Cuevas, JONES was on searchable

pretrial probation. During the search, law enforcement found a Glock pistol, model 20C, with no

serial number and an aftermarket .40 caliber barrel, depicted below:




The firearm was found in a black backpack located in the kitchen and was loaded

with 23 rounds of .40 caliber ammunition. JONES is prohibited from possessing

firearms because he has previously been convicted of a crime punishable by more

than one year in prison.

       47.    Also inside the backpack, officers found a green Apple iPhone (the

Subject Device), the above mentioned Glock pistol, JONES’ certificate of vital

records (birth certificate), a headlamp flashlight, a one-pound bag of rubber bands,

960 grams (net weight including packaging) of packaged cannabis products, and a




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red plastic bottle containing suspected promethazine syrup.

      48.    Elsewhere in the kitchen, officers found keys to a storage unit.

      49.    In the garage, officers found a large black duffle back containing a

flashlight, bolt cutters, adjustable pry bar, 36” pry bar, angle grinder, and

sledgehammer (below left); and a clear plastic tote containing cannabis products

(below right).




Elsewhere in the garage, officers located miscellaneous pharmaceutical pill bottles

and pills. In the laundry room, officers located a large black trash bag containing

15.3 kilograms (net weight) of packaged cannabis product, depicted below:




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      50.    At approximately 6:02 p.m., SA Lynch and TFO Franzen asked JONES

if he would be willing to talk with investigators. JONES agreed and was read his

Miranda warning by TFO Franzen. The interview was recorded on TFO Franzen’s

body worn camera. JONES asked why he was being arrested. SA Lynch read the

two charges that were listed on the arrest warrant, felon in possession of a firearm

and distribution of a controlled substance.

      51.    TFO Franzen asked Jones if he was the owner of the Glock pistol that

was located in JONES’s residence. JONES stated that the pistol was not his and

that he does not know where it came from. JONES was asked if his prints or DNA

would be on the pistol that was found in JONES’ house, JONES stated that his

prints or DNA would not be on the pistol.

      52.    TFO Franzen asked if JONES was a member of any gang. JONES said

he is not a member of any gang. JONES was then transported to the William J.

Kinney Police facility for further questioning in another recorded interview. Law

enforcement again read JONES his Miranda rights. JONES agreed to talk to us but

refused to sign an advice of rights and waiver form.

      53.    SA Lynch asked JONES where he was in the early hours of March 31,

2023. JONES stated that he was at home. SA Lynch told JONES that his GPS

coordinates from JONES’s pre-trial probation ankle monitor were pinging at a

pharmacy burglary that took place at the CareZone Pharmacy located at 860

Harbour Way S, Suite E, Richmond, CA 94804 at 5:00 a.m. JONES stated that he

was not at the burglary.

      54.    TFO Franzen asked JONES what he does for work, JONES stated that

he was currently not working. TFO Franzen then asked how JONES was able to

afford all of the marijuana that was found in the home at the time of the search.

JONES responded, “weed is cheap.”



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      55.    At approximately 7:44 p.m., TFO Franzen and SA Lynch ended the

interview. JONES was then transported and booked into the Sacramento County

Main Jail.
                          V.      TECHNICAL TERMS
      56.    Based on my training and experience, I use the following technical
terms to convey the following meanings:
      a)     Wireless telephone: A wireless telephone (or mobile telephone, or
             cellular telephone) is a handheld wireless device used for voice and
             data communication through radio signals. These telephones send
             signals through networks of transmitter/receivers, enabling
             communication with other wireless telephones or traditional “land
             line” telephones. A wireless telephone usually contains a “call log,”
             which records the telephone number, date, and time of calls made to
             and from the phone. In addition to enabling voice communications,
             wireless telephones offer a broad range of capabilities. These
             capabilities include: storing names and phone numbers in electronic
             “address books;” sending, receiving, and storing text messages and e-
             mail; taking, sending, receiving, and storing still photographs and
             moving video; storing and playing back audio files; storing dates,
             appointments, and other information on personal calendars; and
             accessing and downloading information from the Internet. Wireless
             telephones may also include global positioning system (“GPS”)
             technology for determining the location of the device.
      b)     Digital camera: A digital camera is a camera that records pictures as
             digital picture files, rather than by using photographic film. Digital
             cameras use a variety of fixed and removable storage media to store
             their recorded images. Images can usually be retrieved by connecting
             the camera to a computer or by connecting the removable storage
             medium to a separate reader. Removable storage media include



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     various types of flash memory cards or miniature hard drives. Most
     digital cameras also include a screen for viewing the stored images.
     This storage media can contain any digital data, including data
     unrelated to photographs or videos.
c)   Portable media player: A portable media player (or “MP3 Player” or
     iPod) is a handheld digital storage device designed primarily to store
     and play audio, video, or photographic files. However, a portable
     media player can also store other digital data. Some portable media
     players can use removable storage media. Removable storage media
     include various types of flash memory cards or miniature hard drives.
     This removable storage media can also store any digital data.
     Depending on the model, a portable media player may have the ability
     to store very large amounts of electronic data and may offer additional
     features such as a calendar, contact list, clock, or games.
d)   GPS: A GPS navigation device uses the Global Positioning System to
     display its current location. It often contains records the locations
     where it has been. Some GPS navigation devices can give a user
     driving or walking directions to another location. These devices can
     contain records of the addresses or locations involved in such
     navigation. The Global Positioning System (generally abbreviated
     “GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each
     satellite contains an extremely accurate clock. Each satellite
     repeatedly transmits by radio a mathematical representation of the
     current time, combined with a special sequence of numbers. These
     signals are sent by radio, using specifications that are publicly
     available. A GPS antenna on Earth can receive those signals. When a
     GPS antenna receives signals from at least four satellites, a computer
     connected to that antenna can mathematically calculate the antenna's
     latitude, longitude, and sometimes altitude with a high level of
     precision.


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e)    PDA: A personal digital assistant, or PDA, is a handheld electronic
      device used for storing data (such as names, addresses, appointments
      or notes) and utilizing computer programs. Some PDAs also function
      as wireless communication devices and are used to access the Internet
      and send and receive e-mail. PDAs usually include a memory card or
      other removable storage media for storing data and a keyboard and/or
      touch screen for entering data. Removable storage media include
      various types of flash memory cards or miniature hard drives. This
      removable storage media can store any digital data. Most PDAs run
      computer software, giving them many of the same capabilities as
      personal computers. For example, PDA users can work with word-
      processing documents, spreadsheets, and presentations. PDAs may
      also include global positioning system (“GPS”) technology for
      determining the location of the device.
f)    IP Address: An Internet Protocol address (or simply “IP address”) is a
      unique numeric address used by computers on the Internet. An IP
      address is a series of four numbers, each in the range 0-255, separated
      by periods (e.g., 121.56.97.178). Every computer attached to the
      Internet computer must be assigned an IP address so that Internet
      traffic sent from and directed to that computer may be directed
      properly from its source to its destination. Most Internet service
      providers control a range of IP addresses. Some computers have static-
      that is, long-term-IP addresses, while other computers have dynamic-
      that is, frequently changed-IP addresses.
g)    Internet: The Internet is a global network of computers and other
      electronic devices that communicate with each other. Due to the
      structure of the Internet, connections between devices on the Internet
      often cross state and international borders, even when the devices
      communicating with each other are in the same state.
57.   Based on my training, experience, and research, I know that the


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Subject Device has capabilities that allow it to serve as a wireless telephone, digital
camera, portable media player, GPS navigation device, and PDA. In my training
and experience, examining data stored on devices of this type can uncover, among
other things, evidence that reveals or suggests who possessed or used the device.
      58.     Based on my training, experience, and research, I know that wireless
telephones, such as the Subject Device, can store and transfer large amounts of
data. I also know that individuals involved in crimes such as distribution of
narcotics will often switch devices to avoid law enforcement detection. I know that
when obtaining a new device, the user may change the type of phone, the cellular
provider, the telephone number, and other identifiers related to the wireless
telephone, but the user will often transfer data from one wireless telephone to
another telephone. The data transferred to the new wireless telephone often
contains almost all the data on the phone that will be discarded. The data to be
transferred is not dependent upon the original date that the data was stored upon
the previous wireless telephone, and the data can be stored for an indefinite length
of time. The data can also be transferred multiple times between multiple wireless
telephones.
       VI.      ELECTRONIC STORAGE AND FORENSIC ANALYSIS
      59.     Based on my knowledge, training, and experience, I know that
electronic devices can store information for long periods of time. Similarly, things
that have been viewed via the Internet are typically stored for some period of time
on the device. This information can sometimes be recovered with forensics tools.
      60.     Forensic evidence. As further described in Attachment B, this
application seeks permission to locate not only electronically stored information
that might serve as direct evidence of the crimes described on the warrant, but also
forensic evidence that establishes how the Device was used, the purpose of its use,
who used it, and when. There is probable cause to believe that this forensic
electronic evidence might be on the Device because:
      a)      Data on the storage medium can provide evidence of a file that was
              once on the storage medium but has since been deleted or edited, or of


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       Case 2:23-sw-00591-CKD Document 1 Filed 06/14/23 Page 22 of 31


            a deleted portion of a file (such as a paragraph that has been deleted
            from a word processing file).
      b)    Forensic evidence on a device can also indicate who has used or
            controlled the device. This “user attribution” evidence is analogous to
            the search for “indicia of occupancy” while executing a search warrant
            at a residence.
      c)    A person with appropriate familiarity with how an electronic device
            works may, after examining this forensic evidence in its proper
            context, be able to draw conclusions about how electronic devices were
            used, the purpose of their use, who used them, and when.
      d)    The process of identifying the exact electronically stored information
            on a storage medium that are necessary to draw an accurate
            conclusion is a dynamic process. Electronic evidence is not always
            data that can be merely reviewed by a review team and passed along to
            investigators. Whether data stored on a computer is evidence may
            depend on other information stored on the computer and the
            application of knowledge about how a computer behaves. Therefore,
            contextual information necessary to understand other evidence also
            falls within the scope of the warrant.
      e)    Further, in finding evidence of how a device was used, the purpose of
            its use, who used it, and when, sometimes it is necessary to establish
            that a particular thing is not present on a storage medium.
      61.   Nature of examination. Based on the foregoing, and consistent with
Rule 41(e)(2)(B), the warrant I am applying for would permit the examination of the
device consistent with the warrant. The examination may require authorities to
employ techniques, including but not limited to computer-assisted scans of the
entire medium, that might expose many parts of the device to human inspection in
order to determine whether it is evidence described by the warrant.
      62.   Manner of execution. Because this warrant seeks only permission to
examine a device already in law enforcement’s possession, the execution of this


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warrant does not involve the physical intrusion onto a premises. Consequently, I
submit there is reasonable cause for the Court to authorize execution of the warrant
at any time in the day or night.
                             VII.    CONCLUSION
      63.    I submit that this affidavit supports probable cause for a search

warrant authorizing the examination of the Subject Device described in Attachment

A to seek the items described in Attachment B.

                                           Respectfully submitted,

                                                    /s/
                                           Daniel Lynch
                                           Special Agent
                                           Bureau of Alcohol, Tobacco, and
                                           Firearms




                                               June 14, 2023
Subscribed to me and sworn telephonically on: _________________



__________________________________________
The Honorable Carolyn K. Delaney
United States Magistrate Judge


Approved as to form by:

/s/ Emily G. Sauvageau
Emily G. Sauvageau
Assistant United States Attorney




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       Case 2:23-sw-00591-CKD Document 1 Filed 06/14/23 Page 24 of 31
                                 ATTACHMENT A

      The property to be searched is a green Apple iPhone (the “Subject Device”).

The Subject Device is currently in ATF custody at 1325 J Street, Suite 1520 in

Sacramento, California.



      This warrant authorizes the forensic examination of the Subject Device for

the purpose of identifying the electronically stored information described in

Attachment B.
       Case 2:23-sw-00591-CKD Document 1 Filed 06/14/23 Page 25 of 31
                                     ATTACHMENT B

      All records on the Subject Device described in Attachment A that relate to

violations of 21 U.S.C. §§ 841(a)(1), 18 U.S.C. § 922(g)(1), and involve Shaun

JONES, including:

      1.      All names, words, telephone numbers, email addresses, time/date

information, messages, or other electronic data in the memory of the mobile

telephone or on a server and associated with mobile telephones that are associated

with the subject individuals during execution of the warrant. This authority to

search such mobile telephones includes the following within each mobile telephone:

           a. Incoming call history;

           b. Outgoing call history;

           c. Missed call history;

           d. Outgoing text messages;

           e. Incoming text messages;

           f. Draft text messages;

           g. Telephone book;

           h. Data screen or file identifying the telephone number associated with
              the
           mobile telephone searched;

           i. Data screen, file, or writing containing serial numbers or other
              information to identify the mobile telephone searched;

           j. Voicemail;

           k. User-entered messages (such as to-do lists);

           l. Photographs;

           m. Lists of customers and related identifying information;

           n. Types, amounts, and prices of drugs trafficked as well as dates, places,
              and amounts of specific transactions;
         Case 2:23-sw-00591-CKD Document 1 Filed 06/14/23 Page 26 of 31
             o. Any information related to sources of drugs (including names,
                addresses, phone numbers, or any other identifying information);

             p. All bank records, checks, credit card bills, account information, and
                other financial records; and

             q. Any passwords used to access the electronic data described above.

        2.      Evidence of user attribution showing who used or owned the Devices at

the time the things described in this warrant were created, edited, or deleted, such

as logs, phonebooks, saved usernames and passwords, documents, and browsing

history;

        3.      As used above, the terms “records” and “information” include all of the

foregoing items of evidence in whatever form and by whatever means they may

have been created or stored, including any form of computer or electronic storage

(such as flash memory or other media that can store data) and any photographic

form.

        4.      This warrant authorizes a review of electronic storage media and

electronically stored information seized or copied pursuant to this warrant in order
to locate evidence, fruits, and instrumentalities described in this warrant. The

review of this electronic data may be conducted by any government personnel

assisting in the investigation, who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney support staff, and
technical experts. Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the custody and control of

attorneys for the government and their support staff for their independent review.
                        Case 2:23-sw-00591-CKD Document 1 Filed 06/14/23 Page 27 of 31
AO 93 (Rev. 11/13) Search and Seizure Warrant



                                           UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Eastern District of California

                  In the Matter of the Search of                )
                                                                )
                                                                )             Case No.
                 a green Apple iPhone,                                                           2:23-sw-0591 CKD
                                                                )
      which is currently located at ATF Sacramento              )
                                                                )

                                                SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                          Eastern  District of            California
(identify the person or describe the property to be searched and give its location):

SEE ATTACHMENT A, attached hereto and incorporated by reference.

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

SEE ATTACHMENT B, attached hereto and incorporated by reference.

        YOU ARE COMMANDED to execute this warrant on or before                   June 27, 2023         (not to exceed 14 days)
       in the daytime 6:00 a.m. to 10:00 p.m.  at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to: any authorized U.S. Magistrate Judge in the Eastern
District of California.
     Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     for          days (not to exceed 30)  until, the facts justifying, the later specific date of                          .


Date and time issued:           June 14, 2023 at 12:18 pm
                                                                                                 Judge’s signature

City and state:             Sacramento, California                                 Carolyn K. Delaney, U.S. Magistrate Judge
                                                                                               Printed name and title
                        Case 2:23-sw-00591-CKD Document 1 Filed 06/14/23 Page 28 of 31
AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2) (modified)

                                                                      Return
Case No.:                              Date and time warrant executed:              Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                                    Certification

    I swear that this inventory is a true and detailed account of the person or property taken by me on the warrant.



                           _____________________________________________________________

                          Subscribed, sworn to, and returned before me this date.



               ____________________________________________
______________________________
                                Signature of Judge                                                     Date
       Case 2:23-sw-00591-CKD Document 1 Filed 06/14/23 Page 29 of 31
                                 ATTACHMENT A

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       Case 2:23-sw-00591-CKD Document 1 Filed 06/14/23 Page 30 of 31
                                     ATTACHMENT B

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           l. Photographs;

           m. Lists of customers and related identifying information;

           n. Types, amounts, and prices of drugs trafficked as well as dates, places,
              and amounts of specific transactions;
         Case 2:23-sw-00591-CKD Document 1 Filed 06/14/23 Page 31 of 31
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                addresses, phone numbers, or any other identifying information);

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assisting in the investigation, who may include, in addition to law enforcement

officers and agents, attorneys for the government, attorney support staff, and
technical experts. Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the custody and control of

attorneys for the government and their support staff for their independent review.
